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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                      Judge John L. Kane

  Civil Action No. 05-cv-01149-AP

  MARK WALTON,

                         Plaintiff,
  v.

  THE UNITED S TATES OF AMERICA,

                         Defendant.



                                             MINUTE ORDER

  Judge John L. Kane ORDERS

         Briefing in this matter is set as follows: Plaintiff’s opening brief is due October 26,
  2005; response brief is due November 15, 2005; reply brief is due November 30, 2005.




  Dated: September 19, 2005
